
Per Curiam.
Because the jury found that the appellant committed multiple firearm offenses without discharging the firearm during a single criminal episode, the trial court erred in imposing consecutive mandatory minimum sentences. See Walton v. State , 208 So.3d 60, 64 (Fla. 2016) (quoting Williams v. State , 186 So.3d 989, 993 (Fla. 2016) ("[C]onsecutive sentencing of mandatory minimum imprisonment terms for multiple firearm offenses is impermissible if the offenses arose from the same criminal episode and a firearm was merely possessed but not discharged.") ). Accordingly, we reverse the appellant's sentence on count V and remand the case to the trial court for it to order the appellant's sentence on count V to run concurrently to the sentences for counts IV and VI. We reject the appellant's separate argument that he was entitled to a judgment of acquittal.
AFFIRMED in part, REVERSED in part, and REMANDED with instructions.
Roberts, Ray, and Winsor, JJ., concur.
